               Case 2:20-cr-00112-RSM Document 31 Filed 11/04/20 Page 1 of 1




 1                                                         CHIEF JUDGE RICARDO S. MARTINEZ
 2
                               UNITED STATES DISTRICT COURT
 3
                              WESTERN DISTRICT OF WASHINGTON
 4                                      AT SEATTLE

 5
     UNITED STATES OF AMERICA,                             )   No. CR20-112RSM
 6                                                         )
                     Plaintiff,                            )
 7                                                         )   ORDER GRANTING
                v.                                         )   UNOPPOSED MOTION TO PROCEED
 8                                                         )   WITH GUILTY PLEA BY VIDEO OR
     PRENTICE C. HOLLINGSWORTH,                            )   TELEPHONIC HEARING
 9                                                         )
                     Defendant.                            )
10                                                         )
11          THE COURT has considered Prentice Hollingsworth’s unopposed motion to

12   proceed with guilty plea hearing by video or telephonic hearing, along with all the

13   records and files in this case.

14          THE COURT FINDS that a video or telephonic guilty plea hearing should take

15   place as soon as practical because further delays in this case would cause “serious harm

16   to the interests of justice.” See General Order No. 04-20 (3/30/20).

17          THE COURT ORDERS that a guilty plea hearing be scheduled by

18   teleconference before the magistrate judge as soon as possible.

19          DONE this 4th day of November 2020.

20
21
                                                      A
                                                      RICARDO S. MARTINEZ
22                                                    CHIEF UNITED STATES DISTRICT
                                                      JUDGE
23
24
     Presented by:
25
     s/ Corey Endo
26   Attorney for Prentice Hollingsworth

                                                                          FEDERAL PUBLIC DEFENDER
       ORDER TO PROCEED WITH GUILTY PLEA BY                                  1601 Fifth Avenue, Suite 700
       VIDEO OR TELEPHONIC HEARING                                             Seattle, Washington 98101
       (United States v. Hollingsworth, CR20-112RSM) - 1                                  (206) 553-1100
